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                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION



TRUTEK CORP.,
                                     Case No. 2:21-cv-10312-SJM-RSW
                 Plaintiff,
                                     Hon. Stephen J. Murphy, III
v.

BLUEWILLOW BIOLOGICS, INC.,
ROBIN ROE 1 through 10, gender
neutral fictitious names, and ABC
CORPORATION 1 through 10
(fictitious names).

               Defendants.



                          JOINT STATUS REPORT
Case 4:21-cv-10312-FKB-RSW ECF No. 34, PageID.522 Filed 06/21/22 Page 2 of 4




       Pursuant to the Court’s June 2, 2022 Order (Dkt. 33), Plaintiff/Counter-

Defendant Trutek Corp. (“Plaintiff” or “Trutek”) and Defendant/Counter-Plaintiff

BlueWillow Biologics, Inc. (“BlueWillow”) propose the following deadlines:

                           Event                                            Date
Trutek serves claim terms and proposed constructions            Thursday, July 21, 2022
BlueWillow serves claim terms and proposed constructions        Wednesday, August 17, 2022
Deadline to Meet and Confer to determine disputed claim         Thursday, August 25, 2022
terms for briefing
Parties file simultaneous Opening Briefs                        Thursday, September 8, 2022
Parties file simultaneous Responsive Briefs                     Monday, September 19, 2022
File Joint Claim Construction Statement                         Friday, September 30, 2022
Technology Tutorial and Claim Construction Hearing              Tuesday, November 1, 2022
                                                                or later
      Parties will exchange slides 2 days before the hearing
      Time allocation for technology tutorial:
           o Trutek presentation (45 minutes) with
             BlueWillow rebuttal (15 minutes)
           o BlueWillow presentation (45 minutes) with
             Trutek rebuttal (15 minutes)




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APPROVED AS TO FORM:

Dated: June 21, 2022



/s/ Stanley H. Kremen (w/ permission)       /s/ Liane M. Peterson
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Attorneys for Plaintiff




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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION



TRUTEK CORP.,
                                       Case No. 2:21-cv-10312-SJM-RSW
                    Plaintiff,
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BLUEWILLOW BIOLOGICS, INC.,
ROBIN ROE 1 through 10, gender
neutral fictitious names, and ABC
CORPORATION 1 through 10
(fictitious names).

                  Defendants.



                          CERTIFICATE OF SERVICE


      I certify that on June 21, 2022, I filed the foregoing document and this

Certificate of Service with the Court using the ECF system, which sent notice of

filing to all attorneys of record.

                                       /s/ Alan J. Gocha
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